









Dismissed and Memorandum Opinion filed June 3, 2004









Dismissed and Memorandum Opinion filed June 3, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00057-CR

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&nbsp;

XAVIER SEPEDA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from County Criminal
Court at Law Number 9

Harris County,
Texas

Trial Court Cause No.
1183605

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed June 3, 2004.

Panel consists of
Justices Yates, Anderson, and Hudson.

Do not publish C Tex.
R. App. P. 47.2(b).

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